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IN THE UNITED srArEs DISTRICT COURT FEB "4 mg @

FOR THE NORTHERN DISTRICT OF CALIFORNIA SUSAN Y. SOCNG l\) 10
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Sandra O’Hara- Harmon

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C. A. No.:

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VS.
Facebook, 1nc. - Social Media ' ; h

Facebook Shop, 1nc~ Internet Services

NOTICE OF COl\/IPLAINT
IURY TRIAL REQUESTED

Sandra O’Hara-Harmon, Pro se. Plaintiff hereby files this NOTICE OF COMPLAINT
and in support avers as follows:

JURISDICTK)N

1. This court has subject matter jurisdiction pursuant to Article 111 and USC 28;1332
Diversity of Jurisdiction.

2. Plaintiff, in this action reside in the State cf South Carolina, and the Defendants corporate
residence is in the state ot`California. (see corporate papers attached as plaintiff exhibit
number one (1).

PARTIES
1. Sandra O’Hara- Hal'mon, Plaintiff, and adult whose mailing address is 815 F Street,
Hartsville, SC 29550
2. Corporation Service Company vvhich Will do Business in California As CSC- Lawyers
lncorporating Service, Agent for Facebook, 1nc. Whose address is 1601 Willow Road,
Menlo Parl<, CA 94025. (Statement of lnformation- State of Calit`ornia - Exhibit No. 9)

CLAII\/I

l. Facebook actions of locking me, thus banning me out of my Facebock account was
undertaken in bad faith, and violates Facebook’s contractual obligations to plaintiff as a
US€I'.

2. That Facebook preventing me from having access to my Facebook business/ community
page Was undertaken in bad faith, and violates Facebool<’s contractual obligations to
plaintiff as a user.

3. That Facebook censoring of my boosted Facebook ad Was undertaken in bad faith, and
violates Facebook’s contractual obligations

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4. Facebook employee Gulberg Hendrick from its technical support headquarters with the
telephone number 1-833-272-0777, is engaging in extortion

FACT SUPPORTING CLAIl\/[

1. On or about the 12‘ll of January 2019, Plaintiff, boosted a posting from her Facebook
community page. (Email) Sohara1966@aol.com (Community Page: Advocates for
Equal Justice.)

2. A boosted post is a post to your Page's timeline that you can apply money to in order to
boost it to an audience of your choosing. This is the simplest way to advertise on
Facebook.

3. When you boost a post, you'll tell Facebook 3 things:

a. Who you want to reach: you'll pick a target audience of the type of people you
want to connect with

b. Your max budget: you'll tell Facebook exactly how much you want to spend
over the course of your entire campaign

c. How long you want to run your adi once you click Boost and your ad is
approved, people in your target audience will see your ad in their News Feed
for the duration you've set

4. In this case, I plaintiff boosted a post that 1 shared that consisted of my now deceased
transgender son treatment and experience in a local North Carolina Hospital.

5. l`\/Iy ad was initially approved on January 13, 2019 at 12:19am. With the email Noting:
Your ad is approved and should begin delivering shortly. See Plaintiff Exhibit No. 1

6. However, the problem was Facebook never started circulating that ad in accordance to
their policy on boosting.

7. Therefore, 1 notified Facebool< via their help- support page that my newest approved
boosted ad, has yet to be put into circulation

8. 1 received help through their support team that informed me to reset rny ads manager, and
try reposting.

9. 1 reposted several times receiving additional approvals on Jan 13, 2019 at 1:05pm; Jan.
13, 2019 @11:05 pm; Jan. 14, 2019 @1:19am;1an. 15 @ 8:33pm; Jan. 16 @12:01am;
Jan. 16 @ 3 :44pm; and Jan. 17, 2019 @ l:05am. Still my ad was not circulating - which
was the reason for the multiple postings. (See Plaintiff Exhibit #2 Emails of approval
dates)

10. 1 contacted Facebook help & support page to no avail.

11. On Jan. 17, 2019 at 8:33pm, 1 received an email notifying me that, see copy & paste from
email: (Plaintiff Exhibit No. 3)

lt looks like someone may have accessed your Facebook account. To secure your account,
you'll need to answer a few questions and change your password the next time you go to
Facebock.

For your protection, no one can see you on Facebook until you secure your account.

am

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Thanks,
The Facebook Security Team

12. After receiving this emailJ 1 attempted unsuccessfully to secure my account by verifying
my identity.

13. 1 repeatedly correctly verified my identity numerous times only to be given the same code
which notes that it is expired 447256, and getting the following message repeatedly:
"In order to keep your information secure, we've locked your account. Before we can
unlock it, please verify your identity and change your password.
Your account will remain hidden until you complete this processl
(Plaintiff Exhibit No. 4- multiple recovery codes Pages 1-42 w/ additional 353 & 393
totally 44 pages)

14. Currently, 1 am blocked by Facebook from accessing my personal and business Facebook
account. This conduct by agents of Facebook, on behalf of Facebook. Inc is clearly not
reflective of fair dealing, and it’s undertaken in bad faith, as well as violative of
Facebook’s contractual obligations to its users.

15. After multiple complaints via the help- support page, 1 received an email from Babulal
Sarkar. Copy/ Paste from email: (Plaintiff Exhibit N0.5 consist of 3 pages

Respected Madarn,

1 have gone through your complain against Facebook.

Ridiculously, 1 am facing the same problem in Facebook. 2 days back suddenly 1 found no
Facebook account of mine at social media. Unable to log in. 1 am from lndia.

May 1 know from you how you did able to solve your problem '.’

May 1 expect guidelines from you , how you have solved the problem ?

1 really need your help to overcome.

Thanks & Regards

Babulal Sarkar

16. Plaintiff later learned from researching the name of Babulal Sarkar, that he is listed as a
Facebook Manager on his Facebook Post.
A copy of his post (see Plaintiff Exhibit No. 6)

mitnai$f%.n§at%l`ei$`a§mmue maas-milan maiin§wfa$a“ltr<sl

Manager at Facebook

Went to Bagan Bazer H.S School
Lives in Khowai

From Khowai
17. At this point of discovery, it appears as if Babulal Sarkar was being sarcastic, and may

have censored my post, and intentionally locked and banned me from having access to
my Facebook account because 1 stated, “...lt's rumored that in India, transgender

gaf/l

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individuals are treated harshly, so l assume this doctor from 1ndia believed my daughter's
life was not worth saving, which is why he did nothing to aid in preserving it....”

He is a Facebook Manager in the technology department but he has the audacity to be
making a mockery of him locking me out of Facebook, engaging in sarcastic behavior,
displaying total insensitivity towards Plaintiff as a Facebook user. Clearly his conduct is
in bad faith.

The conduct taken by Facebook has interfered with the two ads that 1 had running
because they abruptly stopped circulating them, as they are noted as being inactive since
mid- December 2018, conduct that 1 was unaware of, despite being scheduled to run for
several months beyond approximately March or June 2019. (Plaintiff Exhibit 7 inactive
posts statuses/ Ad approvals/ Bank drafts- consists of 12 pages)

Facebook, lnc agreement listed in its Statement of Rights and Responsibilities

is to provide users access to Facebook’s services subject to certain terms and conditions
While users do not pay for the services directly, Facebook benefits from user activity
through the sale of advertising (Plaintiff Exhibit 8- Facebook terms of service; Rights &
Responsibilities)

Facebook expressly reserves the right to terminate the accounts of users who violate
Facebook terms of service; Rights & Responsibilities.

However, Facebook does not expressly reserve the right to temiinate an account for any
reason, and indicates in its Statement of Principles that users “should not have their
presence on the Facebook Service removed for reasons other than those described in
Facebook’s terms of service, Statement of Rights and Responsibilities.”

Every contract (under California law and under the laws of most other states) has an
implied duty of good faith and fair dealing which means that there is an implied
“covenant by each party not to do anything which will deprive the other parties . . . of the
benefits of the contract.”

The termination provision of Facebook’s Statement of Rights and Responsibilities
provides that when a user account is terminated, Facebook “will notify you by email or at
the next time you attempt to access your account.” . Given the express language,
Facebook could not have an implied obligation to provide a different termination process.
Facebook termination/ ban / lock~out without warning norjust cause, not only prevented
access to Plaintiff Facebook account, it prevents Plaintiff from being able to download
and secure the data 1 have saved on Facebook for the duration of years of using said
services, as well as cause plaintiff mental anguish & emotional distress, and violate their
clearly expressed policy on terminations, and Facebook terms of service; Rights &
Responsibilities.

Plaintiff decided to involve the courts when attempts at resolving the issue with
Facebook, was fruitless, as Facebook employee from its technical support headquarters
with the telephone number 1-833-272-0777, who stated his name was Gulberg Hendrick,
informed me, Plaintiff to go to Walmart and get one google play card for $100, and to
call back on the number to give the code to him. He noted, 1 would need the code to
unblock my Facebook. He said that Facebook would refund me the money.

This conduct appeared to be fraudulent, and Facebook help- support pages Were not
helpful in obtaining a solution, therefore, 1 am forced to rely on the courts in this case.
By definition, an implied duty or covenant imposes obligations and provides for certain
rights which are not expressly set out in a contract ln California, courts interpret

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most contracts in such a manner as to impose a duty of good faith and fair dealing on
both parties.

Good faith (law) In contract law, the implied covenant of good faith and fair dealing is a
general presumption that the parties to a contract will deal with each other honestly,
fairly, and in good faith, so as to not destroy the right of the other party or parties to
receive the benefits of the contract

1n this case, there existed no good faith, nor fair dealing

Plaintiff posts did not violate Facebook’s terms nor policy for its users, so there was no
reason to ban, lock, nor terminate Plaintiff from having access to both her personal and
business Facebook accounts

Plaintiff verified her business account via US Mail, providing Facebook with her
Identification card, as well as Facebook sending mail to Plaintiff address to verify that
Plaintiffhad a residence here in the United States.

Plaintiff’s boosted ads were approved by Facebook.

Defendant employee took offense to the boosted ads, and acted in bad faith by using his
position as a Facebook l\/Ianager to censor my ads, infringe on my right to free speech, by
preventing the circulation of my new ad, and deactivating my ads that were supposed to
be active, by stopping their circulation mid-December, yet allowing my ads to be listed in
ads manager as active, while at the same time charging me for ads that were not being
circulated As the ads noted active, but were not in circulation as paid for by the terms of
the circulation -payment agreement with respect to audiences reached on a daily basis by
Facebook. 1 am blocked/ banned/and denied access to/ from using and having access to
both my personal account and my business page. Using his position to prevent me from
having access to my Facebook accounts, along with Babulal Sarkar then being
intentionally sarcastic via his email to my email account as previously noted, coupled
with the extortion attempt With the Google Play Card required for unblocking at a cost of
5100, are reflective of bad faith, and unfair dealings

Facebook does have to follow the rules it sets out in its terms of service. A website’s
policies and Terrns of Service are generally considered a contract between the user and the
website ownersl So, while a company may be able to institute whatever policies they want,
they generally have to adhere to what they have written in the Terms of Service.

NOTE.‘ Fcicebook allows its users lo create cr community page.' Community Pages are a new type of
Facebook Page dedicated to a topic or experience that is owned collectively by the community connected to it.
Community Pages let you connect with others who share similar interests and experiencesl

Plaintiff contend that:

1.

lt’s every individual citizen’s right to refuse to disseminate content that is considered, by
them, to be inappropriate So, Facebook, as a private entity, have the right to create a
policy that censors content that its members post online along with the traditional
censored speech such as cyberbullying and harassment, direct threats, and threats of
sexual violence or exploitation

Facebook policy states that “. . .If we determine that you have violated our terms or
policies, we may take action against your account to protect our community and services,

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including by suspending access to your account or disabling it. We may also suspend or
disable your account if you create risk or legal exposure for us or when we are permitted
or required to do so by law. Where appropriate, we will notify you about your account the
next time you try to access it. . .”

l-lowever, capricious terminations by Facebook violate an implied covenant of good faith
and fair dealing

As the court in Young’s case noted, “It is at least conceivable that arbitrary or bad faith
termination of user accounts, or even termination of user accounts with no explanation at
all, implicates the implied covenant of good faith and fair dealing.” Young vs. Face
Book, Inc. Case Number 5:10-cv-03579

Plaintiff, should at least be notified and afforded some meaningful opportunity to be
heard before being prohibited from participating on Facebook as a user with the email of
soharal 966@aol.com and the Community Page: Advocates for Equal lustice, especially
when there is no evidence of any wrong doings, nor know evidence that any provisions
and/ or terms of services as listed in Facebook terms of service; Rights & Responsibilities
were violated by the Plaintiff in this action.

WHEREFORE Plaintiff request the following relief:

l.

Order for defendants to immediately restore Plaintiff Facebook Account both personal
and community page, along with plaintiff posted ads that were approved, adding time that
was taking away from the circulation of the approved ads. Email: Sohara1966@aol.com;
Community Page: Advocates for Equal Justice; Facebook Name: Sandra O’Hara-
Harmon.

Prohibit the defendants from locking out/ banning Plaintiff in violation of Facebook’s
terms of service; Rights & Responsibilities ensuring that Facebook adhere to the State of
California’s contract provisions with respect to their covenant of good faith & fair
dealing as required in their contract law.

Award Plaintiff $500,000.00 for the conduct complained about in this complaint.

Award Plaintiff court cost and attorney fees in the event that Plaintiff is able to locate an
attorney that would be willing to take on her case, as Plaintiff is a State Certif`ied School
Teacher, not a trained lawyer---seeking to address this grievance

 

Respectfully submitted,

Dated: January 31, 2019. \.B]/M/©l`lé/UJ ’l)jE-/VY(X-_)`O

'/Sandra. O’Hai'a- Harrnon

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1N THE UNITED STATES DISTRICT COURT
FOR SOUTH CAROLINA- FLORENCE

Sandra O’l-Iara- Harmon
Plaintiff
C. A_ No.:

 

VS.
Facebook, Inc. - Social Media
Facebook Shop, lnc- Internet Services
CERTIFICATE OF SERVICE
Sandra O’Hara- Harmon ProSe certify that a true and correct copy of the Notice of Complaint

along with two copies of the Waiver of Summons were sent certified US l\/Iail Return receipt to
the following on the date stated below to:

Corporation Service Company which will do Business in California As CSC- Lawyers
Incorporating Service, Agent for Facebook, Inc. whose address is 1601 Willow Road, Menlo
Park, CA 94025.

espe lillyan
/W /

Sandra O’Hara-Harmon
Dated: January 31, 2019

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